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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Richmond Division

UNITED STATES OF AMERICA,

       v.                                                     Civil No. 3:25-mj-00054

LUIS ALONSO ARGUETA-DIAZ,
      Defendant.

                                             ORDER

       On May 22, 2025, the United States filed an appeal in the United States District Court for

the District of New Mexico, seeking to revoke this Court’s May 21, 2025 Release Order Setting

Conditions of Release (ECF No. 8). (ECF No. 11.) Accordingly, the Defendant is committed to

the custody of the United States Marshals for transport to the United States District Court for the

District of New Mexico.

       The Clerk is directed to send a copy of this order to the United States Marshal Service, the

Pretrial Services Office, and all counsel of record.

       It is so ORDERED.

                                                     /s/
Richmond, Virginia                            Mark R. Colombell
Date: May 23, 2025                            United States Magistrate Judge
